         Case
          Case1:20-ap-01021-VK
               1:20-ap-01021-VK Doc
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                                 Main
                                   AP-Summons
                                       Document PagePage1 1ofof4 5


Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
Email Address

Noreen A Madoyan
Margulies Faith LLP
16030 Ventura Blvd #470
Encino, CA 91436
818−705−2777




Plaintiff or Attorney for Plaintiff

                                   UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA − SAN FERNANDO VALLEY
In re:

                                                                              CASE NO.:    1:18−bk−10469−VK

Porter Ranch Integrative Medical Clinic, P.C.                                 CHAPTER:     7


                                                                              ADVERSARY NUMBER:         1:20−ap−01021−VK
                                                               Debtor(s).

Nancy J. Zamora, Chapter 7 Trustee


                                                               Plaintiff(s)
                               Versus
                                                                                  SUMMONS AND NOTICE OF STATUS
                                                                                    CONFERENCE IN ADVERSARY
Dr. Gerie Keh                                                                        PROCEEDING [LBR 7004−1]
(See Attachment A for names of additional defendants)
                                                           Defendant(s)



TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left−hand corner of this page. The deadline to file and serve a written response is
03/23/2020. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                April 15, 2020
             Time:                01:30 PM
             Hearing Judge:       Victoria S. Kaufman
             Location:            21041 Burbank Blvd, Crtrm 301, Woodland Hills, CA 91367



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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You must comply with LBR 7016−1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court−approved joint status report form is available on the court's website (LBR form F
7016−1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016−1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: February 20, 2020




                                                                                        By:        "s/" Julie Cetulio
                                                                                                   Deputy Clerk




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                              Main
                                AP-Summons
                                    Document PagePage3 3ofof4 5



                                                     ATTACHMENT A
                                              Names of plaintiffs and defendants



Plaintiff(s):                                                                Defendant(s):
Nancy J. Zamora, Chapter 7 Trustee                                           Dr. Gerie Keh
                                                                             Dr. Bennett Annan




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                                                             ATTACHMENT A
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
16030 Ventura Blvd., Suite 470, Encino, CA 91436

A true and correct copy of the documents entitled (specify):

A. COMPLAINT FOR: (1) AVOIDANCE OF ACTUAL FRAUDULENT TRANSFERS [11 U.S.C. §§ 544, 548(a)(1)(A);
   Cal. Civ. Code § 3439.04]; (2) AVOIDANCE OF CONSTRUCTIVE FRAUDULENT TRANSFERS [11 U.S.C. §§ 544,
   548(a)(1)(B); Cal. Civ. Code § 3439.05]; (3) AVOIDANCE OF POSTPETITION TRANSFERS [11 U.S.C. § 549]; (4)
   RECOVERY OF AVOIDED TRANSFERS [11 U.S.C. § 550]; (5) PRESERVATION OF AVOIDED TRANSFERS [11
   U.S.C. § 551]; AND (6) DISALLOWANCE OF CLAIMS [11 U.S.C. §502] (DKT NO. 1);

B. ADVERSARY PROCEEDING COVER SHEET (DKT NO. 1-1);

C. JUDGE VICTORIA S. KAUFMAN’S STATUS CONFERENCE INSTRUCTIONS (DKT NO. 2);

D. SUMMONS AND NOTICE OF STATUS CONFERENCE IN ADVERSARY PROCEEDING [LBR 7004-1](DKT NO. 2-
   1);

E. NOTICE REGARDING COMPLIANCE WITH FEDERAL RULE OF BANKRUPTCY PROCEDURE 7026 AND LOCAL
   BANKRUPTCY RULE 7026-1 (DKT NO. 3)

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document.
On February 20, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) February 20, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.



                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) __________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 February 20, 2020                          Helen Cardoza                                       /s/ Helen Cardoza
 Date                                      Printed Name                                         Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                    ADDITIONAL SERVICE INFORMATION (if needed):

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

ATTORNEY FOR PLAINTIFF: Noreen A Madoyan Noreen@MarguliesFaithLaw.com,
Helen@MarguliesFaithlaw.com;Vicky@MarguliesFaithlaw.com;Angela@MarguliesFaithlaw.com

United States Trustee (SV)             ustpregion16.wh.ecf@usdoj.gov

TRUSTEE: Nancy J Zamora (TR)                   zamora3@aol.com, nzamora@ecf.axosfs.com




2. SERVED BY UNITED STATES MAIL:

JUDGE: Hon. Victoria S. Kaufman, U.S. Bankruptcy Court, 21041 Burbank Blvd., Suite 354, Woodland Hills, CA 91367
(executed summons and Notice of Compliance with FRBP 7026 and LBR 7026-1 only)

DEFENDANT: Dr. Gerie Keh, 19137 Index St., #5, Porter Ranch, CA 91326-1621

DEFENDANT: Dr. Bennett Annan, 19137 Index St., #5, Porter Ranch, CA 91326-1621




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
